       Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 1 of 38
            USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 1 of 3


                       UNITED STATES COURT OF APPEALS
                          FOR THE ELEVENTH CIRCUIT
                           ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                         56 Forsyth Street, N.W.
                                         Atlanta, Georgia 30303

David J. Smith                                                            For rules and forms visit
Clerk of Court                                                            www.ca11.uscourts.gov


                                        May 23, 2022

Alexander Barrett Bowdre
Alabama Attorney General's Office
501 WASHINGTON AVE
PO BOX 300152
MONTGOMERY, AL 36130

James W. Davis
Alabama Attorney General's Office
501 WASHINGTON AVE
PO BOX 300152
MONTGOMERY, AL 36130

Edmund Gerard LaCour Jr.
Alabama Attorney General's Office
501 WASHINGTON AVE
PO BOX 300152
MONTGOMERY, AL 36130

Christopher Ernest Mills
Spero Law, LLC
557 E BAY ST STE 22251
CHARLESTON, SC 29413

Benjamin Seiss
Alabama Attorney General's Office
501 WASHINGTON AVE
PO BOX 300152
MONTGOMERY, AL 36130

Thomas Alexander Wilson
Alabama Attorney General's Office
501 WASHINGTON AVE
PO BOX 300152
MONTGOMERY, AL 36130

Appeal Number: 22-11707-JJ
    Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 2 of 38
         USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 2 of 3



Case Style: Paul Eknes-Tucker, et al v. Attorney General, State of Alabama, et al
District Court Docket No: 2:22-cv-00184-LCB-SRW

Please use the appeal number for all filings in this court.

Electronic Filing
All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
unless exempted for good cause. Although not required, non-incarcerated pro se parties are
permitted to use the ECF system by registering for an account at www.pacer.gov. Information
and training materials related to electronic filing are available on the Court's website.

Briefing
Pursuant to 11th Cir. R. 31-1, the appellant's brief is due on or before June 27, 2022. The
appendix is due 7 days after the appellant's brief is filed. An incarcerated pro se party is not
required to file an appendix.

The appellee's brief is due within 30 days after the service of the last appellant's brief. The
appellant's reply brief, if any, is due within 21 days after the service of the last appellee's brief.
This is the only notice you will receive regarding the due date for briefs and appendices.

Please see FRAP 32(a) and the corresponding circuit rules for information on the form of briefs
and FRAP 32(b) and 11th Cir. Rules 30-1 and 30-2 for information on the form of appendices.

(In cross-appeals pursuant to Fed.R.App.P. 28.1(b), the party who first files a notice of appeal is
the appellant unless the parties otherwise agree.)

Certificate of Interested Persons and Corporate Disclosure Statement ("CIP")
Every motion, petition, brief, answer, response, and reply must contain a CIP. See FRAP 26.1;
11th Cir. R. 26.1-1. In addition:

    x   Appellants/Petitioners must file a CIP within 14 days after this letter's date.
    x   Appellees/Respondents/Intervenors/Other Parties must file a CIP within 28 days after
        this letter's date, regardless of whether Appellants/Petitioners have filed a CIP.
    x   Only parties represented by counsel must complete the web-based CIP. Counsel must
        complete the web-based CIP, through the Web-Based CIP link on the Court's website,
        on the same day the CIP is first filed.

The failure to comply with 11th Cir. Rules 26.1-1 through 26.1-4 may result in dismissal of the
case or appeal under 11th Cir. R. 42-1(b), no action taken on deficient documents, or other
sanctions on counsel, the party, or both. See 11th Cir. R. 26.1-5(c).

Civil Appeal Statement
Appellants and Cross-Appellants must file a Civil Appeal Statement, which is available on the
Court's website, within 14 days after this letter's date. See 11th Cir. R. 33-1(a).
    Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 3 of 38
         USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 3 of 3



Mediation
If a Civil Appeal Statement is required to be filed, your appeal and all related matters will be
considered for mediation by the Kinnard Mediation Center. The mediation services are free, and
the mediation process is confidential. You may confidentially request mediation by calling the
Kinnard Mediation Center at 404-335-6260 (Atlanta) or 305-714-1900 (Miami). See 11th Cir.
R. 33-1.

Attorney Admissions
Attorneys who wish to participate in this appeal must be properly admitted either to the bar of
this court or for this particular proceeding, See 11th Cir. R. 46-1; 46-3; 46-4. In addition, all
attorneys (except court-appointed attorneys) who wish to participate in this appeal must file an
appearance form within fourteen (14) days after this letter's date. The Application for
Admission to the Bar and Appearance of Counsel Form are available on the Court's website.
The clerk generally may not process filings from an attorney until that attorney files an
appearance form. See 11th Cir. R. 46-6(b).

Attorneys must file briefs electronically using the ECF system. Use of ECF does not modify the
requirements of the circuit rules that counsel must also provide four (4) paper copies of a brief
to the court, nor does it modify the requirements of the circuit rules for the filing of appendices
in a particular case.

Obligation to Notify Court of Change of Addresses
Each pro se party and attorney has a continuing obligation to notify this court of any changes to
the party's or attorney's addresses during the pendency of the case in which the party or attorney
is participating. See 11th Cir. R. 25-7.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Tiffany A. Tucker/mt, JJ
Phone #: (404)335-6193

                                                                  DKT-7CIV Civil Early Briefing
     Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 4 of 38
          USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 1 of 3



                    UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

REV. PAUL A. EKNES-TUCKER,               )
     et al.,                             )
                                         )
      Plaintiffs,                        )
                                         )
&                                        )
                                         )
UNITED STATES OF AMERICA,                )
                                         )
      Plaintiff-Intervenor,              )
                                         )
v.                                       ) No. 2:22-cv-00184-LCB
                                         )
STEVE MARSHALL, in his official          )
capacity as Attorney General of the      )
State of Alabama,                        )
      et al.,                            )
                                         )
      Defendants.                        )

      DEFENDANTS’ NOTICE OF APPEAL OF ORDER GRANTING
             PRELIMINARY INJUNCTION (DOC. 107)

      Notice is hereby given that all Defendants in the above-captioned case appeal

to the United States Court of Appeals for the Eleventh Circuit from this Court’s May

13, 2022 Preliminary Injunction Opinion and Order (Doc. 107).

                                 Respectfully submitted,
                                 Steve Marshall
                                  Attorney General
                                 s/ Edmund G. LaCour Jr.
                                 Edmund G. LaCour Jr. (ASB-9182-U81L)
                                  Solicitor General
  Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 5 of 38
       USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 2 of 3



Christopher Mills          A. Barrett Bowdre (ASB-2087-K29V)
(SC Bar No. 101050)        Thomas A. Wilson (ASB-1494-D25C)
(Admitted pro hac           Deputy Solicitors General
vice)                      James W. Davis (ASB-4063-I58J)
SPERO LAW LLC               Deputy Attorney General
557 East Bay St.           Benjamin M. Seiss (ASB-2110-O00W)
#22251                      Assistant Attorney General
Charleston, SC 29451
Telephone: (843) 606-      OFFICE OF THE ATTORNEY GENERAL
0640                       STATE OF ALABAMA
cmills@spero.law           501 Washington Avenue
                           P.O. Box 300152
                           Montgomery, Alabama 36130-0152
                           Telephone: (334) 242-7300
                           Fax: (334) 353-8400
                           Edmund.LaCour@AlabamaAG.gov
                           Barrett.Bowdre@AlabamaAG.gov
                           Thomas.Wilson@AlabamaAG.gov
                           Jim.Davis@AlabamaAG.gov
                           Ben.Seiss@AlabamaAG.gov

                           Counsel for Defendants
MAY 16, 2022




                                   2
    Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 6 of 38
         USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 3 of 3



                        CERTIFICATE OF SERVICE

      I certify that I electronically filed this document using the Court’s CM/ECF

system on May 16, 2022, which will serve all counsel of record.

                                     s/ Edmund G. LaCour Jr.
                                     Counsel for Defendants




                                        3
Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 7 of 38
    USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 1 of 32




                           et al.




                  et al.
    Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 8 of 38
        USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 2 of 32




                                                                 Transgender



                                                                      Gender

Identity




                                                           Tr.




  Tr.
      Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 9 of 38
          USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 3 of 32



                   DSM-5



         Tr.




                              WPATH Standards of Care




Id.          Tr.



       Tr.



                      Id.




                                                                  Tr.

                                                                            Id.
    Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 10 of 38
         USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 4 of 32




                                         WPATH Standards of Care




                                                               Tr.

Healthcare Amici Br.




infra
Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 11 of 38
     USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 5 of 32




                             Id.
      Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 12 of 38
           USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 6 of 32




           Id.




                                                                  Id.




Id.

                                                                        Id.




                                                                              Ladinsky v.

Ivey




             Alabama Passes Bills to Target Trans Minors and LGBTQ Classroom Discussion


                      Alabama’s Wave of Anti-LGBTQ Legislation Could Have National
Consequences

 Alabama Law Banning Transgender Medication Challenged in Two Lawsuits
   Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 13 of 38
        USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 7 of 32




           Ladinsky



Walker v. Marshall

                                                    Walker




                                                 Ladinsky

Walker

                                                    Walker



                                                                  Ladinsky

                                Walker

Walker

                                               Ladinsky
    Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 14 of 38
         USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 8 of 32



                                                         Walker

Ladinsky                                                                   Ladinsky




                                                                       Ladinsky

Walker




           Lawsuits Seeking to Overturn New Alabama Transgender Law Dropped, Could be
Refiled


                                                        Compare Am. Intervenor Compl.
                    with Compl.
      Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 15 of 38
           USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 9 of 32




                         amici curiae

                                                                             amici

curiae

                          amici




Tr.




 Amici curiae

                                                     Amicus Curiae

             Amici


                 Amici


                                                                     d/b/a
  Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 16 of 38
      USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 10 of 32




                                                                         Id.




                           Id.



                                           Id.            see also Consent

Form



                                     Tr.




                     Id.



                                                          Id.



                                                 Id.



               Id.
Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 17 of 38
    USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 11 of 32



                                                                       Id.



                                         Id.



                                        Id.




                            Id.



                 Id.

                                  Id.




                                                Id.



                                                         Id.




           Id.
Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 18 of 38
    USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 12 of 32




                      Id.




                                                         Id.




                            Id.



     Id.




                                  Id.



                                        Id.
   Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 19 of 38
       USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 13 of 32




            Id.




                      Bloedorn v. Grube




                                                           Ne. Fla. Chapter of Ass’n

of Gen. Contractors of Am. v. City of Jacksonville

                                                     McDonald’s Corp. v. Robertson




                                                                              Siegel

v. LePore

                                        State of Fla. v. Dep’t of Health & Hum.

Servs.
   Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 20 of 38
       USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 14 of 32




                                                           Pls.’ Mot.

Intervenor Pl.’s Mot.




                 Id.




                                                            See N. Am. Med. Corp.

v. Axiom Worldwide, Inc.




            1.         Plaintiffs’ Constitutional Claims



                       Compl.
Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 21 of 38
    USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 15 of 32




       Heck v. Humphrey




       Richardson v. Johnson




         Compl.



         Id.

                                                     Id.



               Id.

               i.    Substantive Due Process Claim



                                                           Compl.
  Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 22 of 38
      USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 16 of 32




                        Washington v. Glucksberg




                                       Doe v. Moore




                                       Troxel v. Granville



    See Bendiburg v. Dempsey




                     Parham v. J.R.




See also PJ ex rel. Jensen v. Wagner
Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 23 of 38
    USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 17 of 32




                                 Defs.’ Br.



                                                             Bendiburg




                        Parham




                Tr.
   Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 24 of 38
       USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 18 of 32




                                                                Williams v.

Pryor

                                                           Reno v. Flores



                                                    Globe Newspaper Co. v.

Superior Ct. for Norfolk Cnty.
  Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 25 of 38
      USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 19 of 32




                                       Defs.’ Br.                 see also




                    Defs.’ Br.                see also




                        Tr.




Parham
   Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 26 of 38
       USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 20 of 32




                                                                          Holt v.

Hobbs

                                                                              FF

Cosms. FL, Inc. v. City of Miami Beach



                                         United States v. Playboy Ent. Grp., Inc.




                                     Defs.’ Br.
Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 27 of 38
    USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 21 of 32



                                                          Tr.




                                       Id.           Defs.’ Br.




             ii.   Equal Protection Claim



                                            Compl.
   Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 28 of 38
       USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 22 of 32




                                                                      Vill.

of Willowbrook v. Olech                                          Sioux City

Bridge Co. v. Dakota Cnty.




                             Bostock v. Clayton Cnty.




Glenn v. Brumby



                                           See
   Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 29 of 38
       USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 23 of 32



                           Defs.’ Br.



                                                    Id.




                                                          See Glenn




                                                           City of Cleburne v.

Cleburne Living Ctr.

                                                                        Miss.

Univ. for Women v. Hogan

                                                                  Sessions v.

Morales-Santana

                                                                  post hoc

                       United States v. Virginia
Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 30 of 38
    USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 24 of 32




                                   Defs.’ Br.




                                                                       Tr.




             iii.   Void-for-Vagueness Claim




                                                                Compl.




                                    United States v. Marte

                           United States v. Fisher
   Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 31 of 38
       USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 25 of 32




                                   Bankshot Billiards, Inc. v. City of Ocala




                                           Dana’s R.R. Supply v. Att’y Gen.




                                                                       See, e.g.

Gonzales v. Carhart

                                                Colautti v. Franklin
Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 32 of 38
    USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 26 of 32




                          Tr.




         Id.




                                         Cause




               iv.   Free Speech Claim
    Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 33 of 38
        USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 27 of 32




                                                                    Compl.




                                                             Police Dep’t of

City of Chicago v. Mosley




              see also

                                           requests

verbal




                                United States v. Hornaday




                                                                     R.A.V.

v. City of St. Paul
      Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 34 of 38
          USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 28 of 32



                     supra




              2.    Plaintiffs’ Preemption Claim




           Compl.




                               et seq.

                                                                         Pls.’

Br.                    Tr.



supra
   Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 35 of 38
       USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 29 of 32



Hill v. Cundiff




                                                  Ne. Fla. Chapter of Ass’n of Gen.

Contractors of Am.

                                       Odebrecht Const., Inc. v. Sec’y, Fla. Dep’t of

Transp.

                                     See, e.g. Bowen v. City of New York



                      Blaine v. N. Brevard Cnty. Hosp. Dist.




  See Church v. City of Huntsville
Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 36 of 38
    USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 30 of 32




                                                              Tr.



                                                               Id.




                         Scott v. Roberts

                                                       Swain v. Junior
   Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 37 of 38
       USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 31 of 32



                                                     Ne. Fla. Chapter of Ass’n

of Gen. Contractors of Am.



                                                       Prince v. Massachusetts




                      Wisconsin v. Yoder




                                                           Defs.’ Br.



                             Carillon Importers, Ltd. v. Frank Pesce Int’l Grp.




       Defs.’ Br.
   Case 2:22-cv-00184-LCB-CWB Document 114 Filed 05/23/22 Page 38 of 38
       USCA11 Case: 22-11707 Date Filed: 05/18/2022 Page: 32 of 32




                                                             supra




Defs.’ Br.
